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 1                                UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3   EDGAR UMANSOR,                                                Case No. 2:21-cv-01804-JAD-EJY
 4                  Plaintiff,
                                                                                 ORDER
 5          v.

 6   CANTEEN DEPARTMENT, et al.,

 7                  Defendants.

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 9   I.     DISCUSSION
10          On September 29, 2021, Plaintiff, an inmate in the custody of the Nevada Department of
11   Corrections (“NDOC”), submitted a civil rights complaint under 42 U.S.C. § 1983. ECF No. 1-1.
12   Plaintiff has neither paid the full $402 filing fee for this matter nor filed an application to proceed in
13   forma pauperis.
14          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to commence a
15   civil action may apply to proceed in forma pauperis, which allows the inmate to file the civil action
16   without prepaying the full $402 filing fee. To apply for in forma pauperis status, the inmate must
17   submit all three of the following documents to the Court:
18          (1) a completed Application to Proceed in Forma Pauperis for Inmate, on this Court’s
19          approved form (i.e. pages 1 through 3 with the inmate’s two signatures on page 3),
20          (2) a Financial Certificate properly signed by both the inmate and a prison or jail official
21          (i.e. page 4 of this Court’s approved form), and
22          (3) a copy of the inmate’s prison or jail trust fund account statement for the previous
23          six-month period.
24          The Court grants Plaintiff a one-time extension to file a fully complete application to proceed
25   in forma pauperis containing all three of the required documents, or in the alternative, pay the full
26   $402 filing fee for this action on or before December 3, 2021. Absent unusual circumstances, the
27   Court will not grant any further extensions of time.
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 1          If Plaintiff is unable to file a fully complete application to proceed in forma pauperis with all

 2   three required documents or pay the full $402 filing fee on or before December 3, 2021, the Court

 3   will recommend dismissal of this case without prejudice allowing Plaintiff to file a new case with

 4   the Court when Plaintiff is able to acquire all three of the documents needed to file a fully complete

 5   application to proceed in forma pauperis or pays the full $402 filing fee.

 6          A dismissal without prejudice means Plaintiff does not give up the right to refile the case

 7   with the Court, under a new case number, when Plaintiff has all three documents needed to submit

 8   with an application to proceed in forma pauperis. Alternatively, Plaintiff may choose not to file an

 9   application to proceed in forma pauperis and instead pay the full filing fee of $402 on or before

10   December 3, 2021 to proceed with this case.

11          The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1), but the Court will not

12   file the complaint unless and until Plaintiff timely files a fully complete application to proceed in

13   forma pauperis with all three documents or pays the full $402 filing fee.

14   II.    ORDER

15          Accordingly, and for the foregoing reasons, IT IS HEREBY ORDERED that the Clerk of the

16   Court shall send Plaintiff the approved form application to proceed in forma pauperis by an inmate,

17   as well as the document entitled information and instructions for filing an in forma pauperis

18   application.

19          IT IS FURTHER ORDERED that on or before December 3, 2021, Plaintiff shall either pay

20   the full $402 filing fee for a civil action (which includes the $350 filing fee and the $52

21   administrative fee) or file with the Court:

22          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this Court’s

23          approved form (i.e. pages 1 through 3 of the form with the inmate’s two signatures on page

24          3),

25          (2) a Financial Certificate properly signed by both the inmate and a prison or jail official

26          (i.e. page 4 of this Court’s approved form), and

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 1           (3) a copy of the inmate’s prison or jail trust fund account statement for the previous

 2           six-month period.

 3           IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete application to

 4   proceed in forma pauperis with all three documents or pay the full $402 filing fee for a civil action

 5   on or before December 3, 2021, the Court will recommend dismissal of this action without prejudice

 6   for Plaintiff to refile the case with the Court, under a new case number, when Plaintiff has all three

 7   documents needed to file a complete application to proceed in forma pauperis or pays the full $402

 8   filing fee.

 9           IT IS FURTHER ORDERED that the Clerk of the Court shall retain Plaintiff’s complaint

10   (ECF No.1-1) but will not file it at this time.

11           DATED this 5th day of October, 2021.

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                                                       ELAYNA J. YOUCHAH
14                                                     UNITED STATES MAGISTRATE JUDGE
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